             Case 3:15-cv-03433-N Document 61 Filed 08/24/17                                        Page 1 of 3 PageID 532
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                        REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                              FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                               ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                    TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court            Northern District of Texas, Dallas Division                       on the following
      G Trademarks or         G
                              ✔ Patents.    (   G   the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                        U.S. DISTRICT COURT
      3:15-cv-3433- N                      10/22/2015                               Northern District of Texas, Dallas Division
PLAINTIFF                                                                    DEFENDANT
 Nu-You Technologies LLC                                                       Beauty Town International Inc



        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 7,198,050                                 4/3/2007                   Nu-You Technologies LLC

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                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                         G
                                                     Amendment                  G   Answer          G   Cross Bill   G   Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT
 8/24/2017 - Joint Stipulation of Dismissal.




CLERK                                                        (BY) DEPUTY CLERK                                          DATE
Karen Mitchell                                                 s/R. Negron                                                     8/24/2017

Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy


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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

NU-YOU TECHNOLOGIES, LLC       §
                               §
    Plaintiff,                 §
                               §
                               §
v.                             §                   CIVIL ACTION NO. 3:15-cv-3433
                               §                   JURY DEMAND
BEAUTY TOWN INTERNATIONAL INC. §
                               §
    Defendant.                 §

                   JOINT STIPULATED MOTION FOR DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(2) and (c), Plaintiff Nu-You Technologies, LLC

(“Nu-You”) and Defendant Beauty Town International Inc. (“Beauty Town”), file this Joint

Stipulated Motion for Dismissal.

       Nu-You hereby dismiss all claims against Beauty Town with prejudice. Beauty Town

hereby dismisses all counterclaims against Nu-You without prejudice as moot.

       Each party to bear its own costs, expenses, and attorneys’ fees.

       A Proposed Order granting the requested relief is filed herewith.




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Respectfully submitted,

By: /s/ Steven N. Williams                          By: /s/ David B. Conrad
Steven N. Williams                                  Neil J. McNabnay
swilliams@mcdolewilliams.com                        njm@fr.com
TX State Bar No. 21577625                           Texas Bar No. 24002583
William Zac Duffy                                   David B. Conrad
zduffy@mcdolewilliams.com                           conrad@fr.com
TX State Bar No. 24059697                           Texas Bar No. 24049042
                                                    Ricardo J. Bonilla
MCDOLE WILLIAMS                                     rbonilla@fr.com
A PROFESSIONAL CORPORATION                          Texas Bar No. 24082704
1700 Pacific Avenue, Suite 2750
Dallas, Texas 75201                                 FISH & RICHARDSON P.C.
(214) 979-1122 - Telephone                          1717 Main Street, Suite 5000
(214) 979-1123 – Facsimile                          Dallas, TX 75201
                                                    (214) 747-5070 (Telephone)
ATTORNEYS FOR PLAINTIFF                             (214) 747-2091 (Facsimile)
NU-YOU TECHNOLOGIES, LLC
                                                    ATTORNEYS FOR DEFENDANT
                                                    BEAUTY TOWN INTERNATIONAL INC.


                               CERTIFICATE OF SERVICE

       I hereby certify that all counsel of record who consent to electronic service and are being

served with a copy of this document via the Court’s CM/ECF system per Local Rule LR 5.1(d) on

August 24, 2017.

                                                      /s/ Steven N. Williams
                                                          Steven N. Williams




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